Case 2:04-Cr-20291-BBD Document 46 Filed 07/14/05 Page 1 of 2 Page|D 41

D.O.
IN THE UNITED STA'I‘ES DISTRICT COUI"!.T|"'“‘ED B """‘_

FoR THE wEsTERN DISTRICT oF TENNESSEE _25
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GB§'}DUHSP § *Lp‘"“$

UNITED STATES OF AMERICA

-.,.'

Plaintiff ,

VS.

CR. NO. 04-20291-D
CARLOS WI LL IAMS )

Defendant . )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY
AND SET'I‘ING

 

'I‘his cause was set for a Suppression Hearing on July l, 2005
at 10:00 a.m. The defendant moved the Court for a Continuance to
allow for additional time to prepare.

The Court granted the motion and hereby resets the

Suppres¢ion Hearing to Wec’ines<ie\y,[l Auggst 24l 2005 at 1200 p.m. and

a Trial date of Thursda Au st 25 2005 at 10:30 a.m., in

 

Courtroom 3, 9th Floor of the Federal Buildincr, Memphis, 'I‘N.

The period from August 12, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h) (l) (F) because the ends of
justice served in allowing for disposition of the pending motion
outweigh the need for a speedy trial.

I'I' IS SO ORDERED this if day of July, 2005.

Q§ZAA/¢/

ICE B. D'oNALD

UNI'I'ED STA'I'ES DISTRICT JUDGE »
Thls document entered on the docket sh /I
with Huie 55 and/or 32(b) FHCrP on nj a

   

UNITED sATE DISTRICT COURT - WETERN DISTRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 46 in
case 2:04-CR-20291 Was distributed by faX, mail, or direct printing on
July ]5, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

